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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                   Chapter 7

        NJD WIRING AND ELECTRIC INC.,                                    Case No. 15-45700-ess

                                    Debtor.
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       ORDER APPROVING TRUSTEE’S SALES OF: (I) DEFAULT JUDGMENT
               TO ALPHA ASSETS CORP.; AND (II) REMAINING
         ASSETS OF DEBTOR’S ESTATE TO OAK POINT PARTNERS, INC.
            FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND
       ENCUMBRANCES UNDER U.S.C. §§ 105 AND 363 AND RELATED RELIEF

        UPON the April 4, 2018 [ECF Doc. No. 136] application (“Application”) of Debra

Kramer, Chapter 7 trustee (“Trustee”) of the estate of NJD Wiring and Electric Inc., debtor

(“Debtor”), by and through her counsel Rosen, Kantrow & Dillon, PLLC, requesting entry of an

order under sections 105 and 363, Title 11, United States Code (“Bankruptcy Code”) approving

the sales of: (i) that certain default judgment entered in favor of Trustee as against Peter

Karageorgio (“Karageorgio Judgment”) to SM Financial Services Corporation (“SM Financial”)

at a purchase price of five hundred dollars ($500.00); and (ii) the remaining assets of Debtor’s

estate to Oak Point Partners, Inc. (“Oak Point”) at a purchase price of six thousand dollars

($6,000.00), free and clear of liens, claims, interests, and encumbrances under Bankruptcy Code

section 363; and upon the limited objection to the Application (“Limited Objection”) having been

filed by International Fidelity Insurance Company (“International”) on April 13, 2018 [ECF Doc.

No. 138]; and upon Trustee having filed a reply to the Limited Objection on April 18, 2018 [ECF

Doc. No. 139] clarifying that the Remnant Assets, as that term is defined in the Application, does

not include the abandoned property (“Abandoned Property”) subject to the Order of Abandonment

of Property of Debtor’s Estate entered by the Court on June 7, 2016 [ECF Doc. No. 106]; and upon
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International having filed a withdrawal of its Limited Objection on April 19, 2018 [ECF Doc. No.

140]; and upon Alpha Assets Corp. (“Alpha”) having thereafter offered to purchase the

Karageorgio Judgment from Trustee for two thousand dollars ($2,000.00) and forwarded Trustee

payment in full in advance of the hearing on the Application; and upon Trustee having determined

to accept the purchase offer of Alpha as being a higher and better offer then that of SM Financial;

and upon consideration of the Application and the requested relief being a core proceeding

pursuant to 28 U.S.C. § 157(b); and due and proper notice of the Application having been

provided; and it appearing that no other notice needs be provided and that further notice has been

waived; and the Application having come on for a hearing upon notice before the Court on May

8, 2018; and Trustee having appeared by Scott T. Dillon, Esq., one of her counsel, who argued in

support of Trustee’s Application; and the Court having heard no objections to the relief sought by

Trustee, or said objections having either been withdrawn of otherwise overruled; and the Court

having considered the arguments of counsel and the entire record before the Court; and after due

deliberation; it is hereby:

ORDERED:

           1.       The relief sought in the Application is GRANTED, to the extent set forth herein.

           2.       The Bidding Procedures 1 are fair and reasonable and are approved in their entirety.

           3.       The purchase offer of Alpha and all of its terms and conditions are approved in their

entirety.

           4.       The Oak Point Agreement and all of its terms and conditions are approved in their

entirety.




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    Capitalized terms not defined herein shall carry the meanings ascribed to them in the Application.

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       5.      Under Bankruptcy Code sections 105 and 363(b), the Trustee is authorized to sell:

(a) the Karageorgio Judgment to Alpha for two thousand dollars ($2,000.00); and (b) the Remnant

Assets to Oak Point for six thousand dollars ($6,000.00).

       6.      Oak Point, or its counsel, is directed to tender a certified check in the amount of six

thousand dollars ($6,000.00) to counsel for the Trustee, made payable to “Debra Kramer, Trustee”

within three (3) business days of the entry of this Order.

       7.      Under Bankruptcy Code section 363(f), the sale of the Karageorgio Judgment to

Alpha and the Remnant Assets to Oak Point (“Sales”) shall be free and clear of any and all liens,

claims, and encumbrances, with such liens, claims, and encumbrances to attach to the proceeds of

the Sales with the same force, effect, and priority as such liens, claims, and encumbrances have on

the Estate’s right to the assets, as appropriate, subject to the rights and defenses of Trustee and any

party in interest with respect thereto.

       8.      The Sale by Trustee of the Remnant Assets to Oak Point expressly excludes and

shall not contain any rights with respect to the Abandoned Property.

       9.      The Trustee is authorized to take such actions as are necessary to effectuate the

terms of the Sale Agreements and/or Sales, together with all additional instruments and documents

that may be reasonably necessary to implement the Sale Agreements and/or Sales.

       10.     Alpha and Oak Point are granted the protections provided to a good faith purchaser

under Bankruptcy Code section 363(m).

       11.     The transfer of the Karageorgio Judgment to Alpha and the Remnant Assets to Oak

Point, pursuant to the respective Sale Agreements and/or Sales, constitutes a legal, valid, and

effective transfer of the assets; and shall vest Alpha with all right, title, and interest in and to the

Karageorgio Judgment and proceeds thereof, and shall vest Oak Point with all right, title, and



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interest in and to the Remnant Assets and proceeds thereof, except as expressly limited under

section eight (8) of this Order.

       12.     The Sales of the Karageorgio Judgment and the Remnant Assets are in “as is”,

“where is”, “with all faults” condition.

       13.     The fourteen-day stay under Rule 6004(h) of the Federal Rules of Bankruptcy

Procedure is waived.

       14.     This Court may retain jurisdiction over the provisions of this order and to hear and

determine all matters arising from the implementation of this order.




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 Dated: Brooklyn, New York                                             Elizabeth S. Stong
        May 9, 2018                                             United States Bankruptcy Judge

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